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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

                    v.                         CIVIL ACTION

THE STATE OF GEORGIA, et al.,                  FILE NO. 1:21-CV-02575-JPB

             Defendants,                       ORAL ARGUMENT
                                               REQUESTED
REPUBLICAN NATIONAL
COMMITTEE, et al.,

             Intervenor-Defendants.


          DEFENDANTS’ MOTION TO DISMISS COMPLAINT

      Defendants the State of Georgia, the Georgia State Election Board, and

Brad Raffensperger, in his official capacity as Secretary of State of Georgia,

(collectively, “Defendants”), move to dismiss Plaintiff’s complaint in its entirety

pursuant to Federal Rule of Civil Procedure 12(b)(6). In support of this motion,

Defendants rely on their Brief in Support of Motion to Dismiss Complaint,

which is filed with this motion.

      Respectfully submitted this 28th day of July, 2021.

                                      Christopher M. Carr
                                      Attorney General
                                      Georgia Bar No. 112505
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                            Bryan K. Webb
                            Deputy Attorney General
                            Georgia Bar No. 743580
                            Russell D. Willard
                            Senior Assistant Attorney General
                            Georgia Bar No. 760280
                            Charlene McGowan
                            Assistant Attorney General
                            Georgia Bar No. 697316
                            State Law Department
                            40 Capitol Square, S.W.
                            Atlanta, Georgia 30334

                            /s/ Gene C. Schaerr
                            Gene C. Schaerr*
                            Special Assistant Attorney General
                            Erik Jaffe*
                            H. Christopher Bartolomucci*
                            Brian J. Field*
                            Riddhi Dasgupta*
                            SCHAERR | JAFFE LLP
                            1717 K Street NW, Suite 900
                            Washington, DC 20006
                            Telephone: (202) 787-1060
                            gschaerr@schaerr-jaffe.com
                            *Admitted pro hac vice

                            Bryan P. Tyson
                            Special Assistant Attorney General
                            Georgia Bar No. 515411
                            Bryan F. Jacoutot
                            Georgia Bar No. 668272
                            Loree Anne Paradise
                            Georgia Bar No. 382202
                            Taylor English Duma LLP
                            1600 Parkwood Circle, Suite 200
                            Atlanta, Georgia 30339
                            Telephone: (678) 336-7249

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                            btyson@taylorenglish.com

                            Counsel for Defendants




                              3
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                   CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Defendants’ Motion to Dismiss Complaint has been prepared in

Century Schoolbook 13, a font and type selection approved by the Court in

L.R. 5.1(B).

                                   /s/ Gene C. Schaerr
                                   Gene C. Schaerr
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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

UNITED STATES OF AMERICA,

          Plaintiff,

                 v.                      CIVIL ACTION

THE STATE OF GEORGIA, et al.,            FILE NO. 1:21-CV-02575-JPB

          Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

          Intervenor-Defendants.




               DEFENDANTS’ BRIEF IN SUPPORT OF
                MOTION TO DISMISS COMPLAINT
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                               INTRODUCTION

      This action by the U.S. Department of Justice (DOJ) is a politicized

intrusion into the State of Georgia’s constitutional authority to regulate the

“time, place, and manner” of its elections. U.S. CONST. art. I, § 4, cl. 1. Georgia’s

election laws, as recently amended by SB 202, are reasonable, non-

discriminatory, and well within the mainstream of election laws across the

country. As a whole, Georgia law “generally makes it very easy to vote.”

Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2330 (2021).

      SB 202 implements lessons learned by state and local elections officials

through the challenge of administering an election during a global pandemic.

During the 2020 election cycle, the Georgia Secretary of State and State

Election Board undertook temporary, emergency measures to protect the

health and safety of voters amidst unprecedented circumstances. SB 202

makes permanent some of the emergency measures that proved successful,

while shoring up the security of the State’s numerous and accessible methods

of voting. At each turn, Georgia’s General Assembly sought to increase voter

access and voter confidence—making it “easy to vote and hard to cheat.”

SB 202 at 6:146-7:147. Compared to prior statutory law, SB 202 significantly

increased voter access.

      Rather than allowing Georgia’s officials to implement the commonsense
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provisions of SB 202, DOJ asks this Court to undo the considered judgment of

Georgia’s elected representatives. And DOJ does so even though many of the

provisions of SB 202 that DOJ calls “discriminatory” and even “racist” are the

law in many states, including Delaware, New York, Rhode Island, New Jersey,

Maryland, and Wisconsin. Yet DOJ is not suing those states, nor has it sued

others controlled by Democrats that have laws far more restrictive than

Georgia’s. This merely underscores why this lawsuit should be dismissed:

“States—not federal courts—are in charge of setting [the] rules” for the

electoral process. New Ga. Project v. Raffensperger, 976 F.3d 1278, 1284 (11th

Cir. 2020).

      Putting aside DOJ’s transparently political interference with Georgia’s

constitutional authority, the complaint must be dismissed because it fails to

plead a legally cognizable claim under Section 2 of the Voting Rights Act. First,

the complaint rests entirely on an alleged discriminatory intent or “purpose,”

rather than alleging discriminatory results. There is no such thing as a

standalone “intent” claim under Section 2. Eleventh Circuit precedent holds

that “discriminatory intent alone is insufficient to establish a violation of

Section 2.” Johnson v. DeSoto Cty. Bd. of Comm’rs, 72 F.3d 1556, 1561 (11th

Cir. 1996). Instead, there must also be a showing of “discriminatory results.”

Id. The Court will search in vain for such allegations in the complaint because

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DOJ cannot plausibly allege that SB 202 has any discriminatory results.

      Second, even if intent had any relevance under Section 2, the complaint

fails to allege facts showing discriminatory intent because it fails to allege an

act or statement from any Georgia legislator suggesting such an intent behind

SB 202. DOJ relies only on innuendo and hyperbole, neither of which can

overcome its pleading deficiencies.

      Third, DOJ’s complaint cannot survive the Supreme Court’s recent

decision in Brnovich, which rejected many of the arguments on which DOJ

relies here. Brnovich emphasized that Section 2 claims must be assessed under

the “totality of circumstances,” noting that voters must “tolerate the usual

burdens of voting” and that “[m]ere inconvenience cannot be enough to

demonstrate a violation of [Section] 2.” 141 S. Ct. at 2338. Brnovich also upheld

a rule requiring voters to vote in their correct precinct, substantially similar

(and even more restrictive) than the rule challenged here. Id. at 2350. Further,

in contrast to the complaint’s dismissal of the legislature’s expressed concern

about voter fraud, Brnovich held that fraud is a “strong and entirely

legitimate” reason for enacting voting laws. Id.

      Indeed, Brnovich so forecloses this action that it raises the question why

DOJ is still pursuing it. One answer, again, is politics: the complaint was filed

just three days after voting reforms advanced by U.S. Senate Democrats and

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the administration failed on the Senate floor.1 But regardless of actual motive,

the complaint lacks the most basic allegations to support a Section 2 claim. It

must therefore be dismissed.

                                 ARGUMENT

       The legal standards governing pleading of a Section 2 claim are well

settled. Section 2 prohibits a voting “standard, practice, or procedure” that

“results in the denial or abridgment of the right of any citizen of the United

States to vote on account of race or color[.]” 52 U.S.C. § 10301(a). This requires

“consideration of ‘the totality of circumstances’ that have a bearing on whether

a State makes voting ‘equally open’ to all and gives everyone an equal

‘opportunity’ to vote.” Brnovich, 141 S. Ct. at 2341. This standard makes room

for the “usual burdens of voting,” which voters must “tolerate.” Id. at 2338. It

also recognizes that a state may take proactive measures to prevent voter

fraud. Id. at 2348.

       In contrast, a plaintiff does not state a claim under Section 2 merely by

alleging a disparate impact from the challenged law. Id. at 2341. Nor will

recounting a state’s “racist history,” if any, suffice. Greater Birmingham


1See   Clare Foran & Lauren Fox, Senate Republicans block signature
Democratic election bill in key test vote, CNN (June 22, 2021),
https://www.cnn.com/2021/06/22/politics/senate-democrats-voting-
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Ministries v. Sec’y of State for Ala., 992 F.3d 1299, 1325 (11th Cir. 2021)

(“GBM”). Rather, a plaintiff must allege sufficient facts to plausibly show that

the challenged laws, when considered alongside the state’s “entire system of

voting,” create a voting system that is not “equally open.” Brnovich, 141 S. Ct.

at 2340, 2341. Without such allegations, a complaint fails to state a claim upon

which relief may be granted. As shown below, that is true here, for three

independent reasons.

I.      DOJ’s Section 2 claim fails because the complaint does not allege
        that SB 202 will produce discriminatory results.

        At the threshold, DOJ’s complaint misses an essential element of a

Section 2 claim under the Voting Rights Act: a claim of disparate “results.”

Rather, the single count in the complaint seeks to invalidate portions of SB 202

as intentionally discriminatory and for no other reason.2 But there is no such

thing as an exclusively intentional-discrimination claim under Section 2. In

Johnson, the Eleventh Circuit held that “discriminatory intent alone is

insufficient to establish a violation of Section 2.” 72 F.3d at 1561 (cleaned up).

The court explained that “the plain language of [Section] 2” “expressly requires

a showing of discriminatory results, and it admits of no exception for situations

in which there is discriminatory intent but no discriminatory results.” Id. at


2   A copy of SB 202 is attached as Exhibit A.

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1563; accord Brooks v. Miller, 158 F.3d 1230, 1237 (11th Cir. 1998) (“[W]e are

bound by Johnson . . . which held that discriminatory intent alone, in the

absence of a showing of discriminatory effect, is insufficient to establish a

violation of [Section] 2.”). Accordingly, Johnson forecloses DOJ’s Section 2

claim because Congress eliminated an intent claim from Section 2.

      A.    Congress eliminated the intent test from Section 2 in 1982.

      When Congress first adopted the Voting Rights Act in 1965, Section 2

read differently than it does today:

      No voting qualification or prerequisite to voting, or standard, practice,
      or procedure shall be imposed or applied by any State or political
      subdivision to deny or abridge the right of any citizen of the United
      States to vote on account of race or color.

42 U.S.C. § 1973 (1965) (emphases added). In 1980, the Supreme Court found

that this version of Section 2 “no more than elaborates upon that of the

Fifteenth Amendment, and the sparse legislative history of [Section] 2 makes

clear that it was intended to have an effect no different from that of the

Fifteenth Amendment itself.” Mobile v. Bolden, 446 U.S. 55, 60-61 (1980). This

was a serious problem for potential plaintiffs, because the Fifteenth

Amendment requires a finding of intentional racial discrimination before

invalidating a statute—a very high bar. Id. at 62.

      Congress leapt into action to address that reading of Section 2. But



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Congress did not add a new test alongside the prior statute’s intent-based

test—it rewrote the statute. The revised Section 2 reads:

      (a) No voting qualification or prerequisite to voting or standard, practice,
      or procedure shall be imposed or applied by any State or political
      subdivision in a manner which results in a denial or abridgement of the
      right of any citizen of the United States to vote on account of race or
      color, or in contravention of the guarantees set forth in section 4(f)(2), as
      provided in subsection (b).

      (b) A violation of subsection (a) is established if, based on the totality of
      circumstances, it is shown that the political processes leading to
      nomination or election in the State or political subdivision are not
      equally open to participation by members of a class of citizens protected
      by subsection (a) in that its members have less opportunity than other
      members of the electorate to participate in the political process and to
      elect representatives of their choice.

52 U.S.C. § 10301 (emphasis added). This revised language created a new

test—the “results” test—that replaced the old intent standard with “shall be

imposed or applied . . . in a manner which results in a denial or abridgement

of the right of any citizen of the United States to vote on account of race or

color.” Id. § 10301(a) (emphasis added).

      In 1986 the Supreme Court recognized this was a new test, explaining

that “[t]he intent test was repudiated” because it “asks the wrong question”—

instead, courts should look at the “result of the challenged practice.” Thornburg

v. Gingles, 478 U.S. 30, 44 (1986) (emphases added). The Court was clear: the

1982 amendment to Section 2 “repudiat[ed],” “abandoned,” and “rejected the



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old intent test.” Id. at 71, 72.

      The Supreme Court re-emphasized this point in Brnovich, where it

explained that Congress’s goal was to “establish a new vote-dilution test” in

the 1982 amendment. Brnovich, 141 S. Ct. at 2332 (emphasis added). Even the

Brnovich dissent—which vigorously disagreed with the majority opinion—

agreed that there is no intent-only test in Section 2, explaining that “[t]his

Court, as the majority notes, had construed the original Section 2 to apply to

facially neutral voting practices ‘only if [they were] motivated by a

discriminatory purpose.’ . . . Congress enacted the current Section 2 to reverse

that outcome—to make clear that ‘results’ alone could lead to liability.” Id.

at 2357 (Kagan, J., dissenting) (emphasis added). A few pages later, Justice

Kagan emphasized again: “The [Section 2] inquiry is focused on effects: It asks

not about why state officials enacted a rule, but about whether that rule results

in racial discrimination.” Id. at 2360 (emphasis added).

      Other courts, including the Eleventh Circuit, previously agreed that the

1982 amendment deleted the intent test from Section 2: “Congress chose the

language of the statute with great care. Congress wished to eliminate any

intent requirement from section 2, and therefore changed the terms of § 2(a)

. . . to forbid any practice that ‘results in’ discrimination.” United States v.

Marengo Cty. Comm’n, 731 F.2d 1546, 1563 (11th Cir. 1984); accord McMillan

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v. Escambia Cty., Fla., 748 F.2d 1037, 1042 (5th Cir. 1984) (same); Ketchum v.

Byrne, 740 F.2d 1398, 1409 (7th Cir. 1984) (Congress “wisely eliminated the

elusive and perhaps meaningless issue of governmental ‘purpose’ from the

calculus of vote dilution claims”); Luft v. Evers, 963 F.3d 665, 672 (7th

Cir. 2020) (“intent is not an element” of a Section 2 claim). And even before

Brnovich, the Supreme Court had consistently explained the lack of an intent

standard in Section 2: “Section (a) adopts a results test, thus providing that

proof of discriminatory intent is no longer necessary to establish any violation

of the section.” Chisom v. Roemer, 501 U.S. 380, 395 (1991).

      Further, in Brnovich, the Supreme Court clarified the standard for vote-

denial cases such as this one: Section 2(b) requires that a state’s voting system

be “equally open”—an analysis that has nothing to do with the intent behind

the challenged legislative enactments. 141 S. Ct. at 2337.

      B.    DOJ claims only discriminatory intent, not results.

      Because there is no longer an intent test in Section 2, the sole cause of

action DOJ can bring under Section 2 is a results claim. That is no doubt why,

when DOJ seeks to explain what Section 2 prohibits, it does not quote from the

text because it cannot. [Doc. 1 ¶ 160]. Instead, DOJ adds the word “purpose”—

a word found nowhere in the text of Section 2. Id.

      Likewise, DOJ’s sole prayer for relief is an injunction based on provisions


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of SB 202 that DOJ says “were adopted and are being enforced with the purpose

of denying or abridging the right to vote on account of race[.]” [Doc. 1 at 44-45]

(emphasis added). DOJ has not brought a results claim, only an intentional-

discrimination claim under Section 2.3

      In short, DOJ’s sole claim is based on a flawed assumption that Section 2

provides a cause of action for discriminatory intent alone. It does not. And the

statement in the complaint that such a claim exists has no support in the text

or in binding caselaw. The complaint must therefore be dismissed because it

fails to state a claim under the Voting Rights Act.

II.   In any event, the facts as pleaded do not establish a
      discriminatory purpose on the part of the General Assembly.

      Even if a purpose inquiry were relevant absent a showing of

discriminatory results, to establish a discriminatory purpose, DOJ would have

to show that “the legislature as a whole” acted with such a purpose. Brnovich,



3 This is also how DOJ publicly described this lawsuit: as attacking laws
“adopted with a racially motivated purpose.” Press Release, U.S. Dep’t of
Justice, Justice Department Files Lawsuit Against the State of Georgia to Stop
Racially Discriminatory Provisions of New Voting Law (June 25, 2021)
(emphasis added), https://www.justice.gov/opa/pr/justice-department-files-
lawsuit-against-state-georgia-stop-racially-discriminatory. Scholars likewise
recognize the purpose-only nature of this Section 2 case, noting its lack of a
results claim. See Richard Pildes, Further Analysis of the DOJ Suit Against
Georgia,     ELECTION LAW BLOG (June               25,  2021,    10:43    AM)
https://electionlawblog.org/?p=122841.

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141 S. Ct. at 2350 (emphasis added). The facts alleged in the complaint, even

when accepted as true, do not come close to satisfying this requirement.

      Instead, DOJ fills its complaint with innuendo and hyperbole. But such

rhetoric does not make up for the lack of any factual allegations demonstrating

that the General Assembly acted with a discriminatory purpose when it passed

SB 202. In fact, the complaint is notable for its failure to allege an act or

statement from any Georgia legislator, much less by the legislature as a whole,

during or before enacting SB 202, suggesting a discriminatory intent. Rather

than support such allegations with facts, DOJ relies on several implausible

arguments.

      First, DOJ identifies several statements allegedly made by individuals

who played no role in passing SB 202. For instance, DOJ alleges that a U.S.

Senate candidate mispronounced then-Senator Harris’ name months earlier.

See [Doc. 1 ¶ 98]. Elsewhere, DOJ alleges that, over a period of multiple years,

some Georgia elections involved a racially tinged “robocall,” “digital

advertisement,” “phone call[ ],” and “GIF.” Id. ¶¶ 97, 98, 99, 106. But those

isolated allegations do nothing to support DOJ’s claim of a discriminatory

purpose because they are “unconnected to the passage of [SB 202].” GBM, 992

F.3d at 1324. DOJ does not allege that any of those isolated events (which

spanned several years) involved anyone who played a role in “the passage of”

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SB 202. See id. Surely if a member of the General Assembly made one of those

statements, DOJ would have said so in its complaint. The failure to do so

underscores the disconnect between those allegations and SB 202. DOJ cannot

impute to the General Assembly statements by private individuals, simply

because those individuals happen to reside in Georgia.

      Second, DOJ identifies three statements that legislators allegedly made

about absentee voting while the General Assembly was considering SB 202 or

its predecessors. Two statements were made outside the legislative process—

one in an op-ed and another in an interview. [Doc. 1 ¶¶ 39, 114]. In both, the

legislators expressed concern about the absentee voting “process” and its

electoral ramifications. Id. The third statement was allegedly made during a

committee hearing, when a legislator stated that absentee voting is “the

portion of the voting process that is most open to foolishness.” Id. ¶ 122. None

of these statements addressed race; each focused on the absentee voting

process. Such concerns about absentee voting are hardly surprising, as “[f]raud

is a real risk that accompanies mail-in voting[.]” Brnovich, 141 S. Ct. at 2348.

And concerns about political ramifications are equally unsurprising. See id.

at 2349 (“partisan motives are not the same as racial motives”); Ricci v.

DeStefano, 557 U.S. 557, 642 (2009) (Ginsburg, J., dissenting) (“That political

officials would have politics in mind is hardly extraordinary, and there are

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many ways in which a politician can attempt to win over a constituency . . .

without engaging in unlawful discrimination.”). In sum, these three

statements about absentee voting cannot and do not show that the “legislature

as a whole” acted with discriminatory purpose. Brnovich, 141 S. Ct. at 2350.

      Moreover, the Supreme Court has repeatedly cautioned against relying

on isolated statements by legislators as indications of “the motivation behind

official action.” Hunter v. Underwood, 471 U.S. 222, 228 (1985) (Rehnquist, J.);

see also Epperson v. Arkansas, 393 U.S. 97, 113 (1968) (Black, J., concurring)

(same). In fact, the Supreme Court “has recognized from Chief Justice

Marshall to Chief Justice Warren that determining the subjective intent of

legislators is a perilous enterprise.” Edwards v. Aguillard, 482 U.S. 578, 636–

38 (1987) (Scalia, J., dissenting) (citations omitted). As Chief Justice Warren

explained, “[i]nquiries into congressional motives or purposes are a hazardous

matter[,]” particularly when a court is “asked to void a statute that is, under

well-settled criteria, constitutional on its face, on the basis of what fewer than

a handful of Congressmen said about it.” United States v. O’Brien, 391 U.S.

367, 383–84 (1968). “What motivates one legislator to make a speech about a

statute is not necessarily what motivates scores of others to enact it[.]” Id.; see

also Mims v. Arrow Fin. Servs., 565 U.S. 368, 385 (2012) (Ginsburg, J.) (“the

views of a single legislator, even a bill’s sponsor, are not controlling”); NLRB v.

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SW Gen., Inc., 137 S. Ct. 929, 943 (2017) (Roberts, C.J.) (“floor statements by

individual legislators rank among the least illuminating forms of legislative

history”); Wallace v. Jaffree, 472 U.S. 38, 74 (1985) (O’Connor, J., concurring)

(“a court has no license to psychoanalyze the legislators”). The three

statements alleged in the complaint—none of which mentions race—do not

come close to suggesting a racially discriminatory purpose behind SB 202.

      Of course, the proper source for determining the purpose of the statute

is the statute’s text. See United States v. Am. Truckers Ass’ns, 310 U.S. 534,

543 (1940) (“There is, of course, no more persuasive evidence of the purpose of

a statute than the words by which the legislature undertook to give expression

to its wishes”). SB 202 is the document on which all legislators voted and

expressed their views, and it is the document that was signed into law. And

that text offers not even a hint of discriminatory purpose. It contains legislative

findings made by the entire General Assembly and states the law’s purpose:

“to address the lack of elector confidence in the election system on all sides of

the political spectrum, to reduce the burden on election officials, and to

streamline the process of conducting elections in Georgia by promoting

uniformity in voting.” SB 202 at 12:79–82. SB 202 also responded to elector

“concern[ ] about allegations of rampant voter fraud.” Id. at 4:72. Those

statements are far more representative of SB 202’s purpose than isolated

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statements about absentee voting made by three (out of more than 230)

Georgia state legislators. See Am. Truckers, 310 U.S. at 543.

      This conclusion is supported by the challenged provisions, which fall

within the purposes identified in SB 202. See id. (noting that courts may

disregard the “literal words” of a stated purpose if it is “plainly at variance

with the policy of the legislation as a whole”). For instance, requiring

identification for absentee ballots helps streamline the process, making it more

objective than the prior signature-matching process. See SB 202 at 4:73–75. In

restricting approaching voters with something of value, the General Assembly

recounted that “many groups” approached voters in line during recent

elections, and concluded that “[p]rotecting electors from improper interference,

political pressure, or intimidation while waiting in line” was critical to

maintaining election integrity. Id. at 6:126–29.4 Further, requiring voters to

vote in their correct precincts helps “streamline the process” and,

unsurprisingly, the Supreme Court recently upheld Arizona’s more restrictive

provision requiring voters to vote in their correct precincts. See Brnovich, 141


4Numerous electors complained to the Georgia Secretary of State that they
were approached in line to vote by individuals attempting to influence votes.
Moreover, plaintiffs in other lawsuits challenging SB 202 refer to these
activities—approaching voters in line—as “political speech and expression.”
See Am. Compl. ¶ 28, Sixth District AME v. Raffensperger, No. 1-21-cv-01284-
JPB (N.D. Ga. May 24, 2021).

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S. Ct. at 2350.5 As the challenged provisions fall squarely in line with SB 202’s

stated purposes, those are far more representative of the Act’s purposes than

the isolated statements DOJ alleges. See Am. Truckers, 310 U.S. at 543.

      Third, DOJ alleges that there must have been a discriminatory purpose

behind SB 202 because there is “a dearth of evidence” of actual “fraud”—one of

the General Assembly’s expressed concerns. [Doc. 1 ¶ 102]. But concerns about

voter fraud were just one of several purposes behind SB 202. See SB 202

at 12:79-82. Moreover, the Supreme Court has implicitly rejected the idea that

concerns about fraud reflect racism: “A State indisputably has a compelling

interest in preserving the integrity of its election process.” Purcell v. Gonzalez,

549 U.S. 1, 4 (2006) (per curiam) (quotation marks omitted). And Brnovich

made clear that when it comes to fraud, a State need not wait to “sustain some

level of damage before the legislature [can] take corrective action.” Brnovich,

141 S. Ct. at 2348; accord Crawford v. Marion Cty. Election Bd., 553 U.S. 181,

204 (2008) (noting the State’s “valid interest in protecting the integrity and

reliability of the electoral process”) (cleaned up); Munro v. Socialist Workers

Party, 479 U.S. 189, 195–96 (1986) (legislatures are “permitted to respond to


5 Arizona’s law is an absolute ban on out-of-precinct voting. See Brnovich, 141
S. Ct. at 2350. In contrast, SB 202 provides opportunities to vote out of precinct
if voters arrive after 5 P.M. and are unable to reach their home precinct before
the closing of the polls. See SB 202 at 74:1891–78:1994.

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potential deficiencies in the electoral process with foresight rather than

reactively”).6 Moreover, the Eleventh Circuit has expressly recognized that

in-person voter fraud sometimes occurs. See United States v. McCranie, 169

F.3d 723, 724 (11th Cir. 1999) (“This case involves . . . vote buying, vote selling,

multiple voting, and votes cast by felons and deceased voters”).

      Fourth, DOJ focuses on Georgia’s history of racial discrimination. See

[Doc. 1 ¶¶ 30–34]. Putting aside the impropriety and offensiveness of the

United States attempting to impute to Georgians of 2021 the racial bigotry of

prior generations, the Supreme Court has already ruled that the Voting Rights

Act, like the Constitution, is not “designed to punish for the past.” Shelby Cty.

v. Holder, 570 U.S. 529, 553 (2013); see also Nw. Austin Mun. Util. Dist. No.

One v. Holder, 557 U.S. 193, 202 (2009) (noting that “[t]hings have changed in

the South”). As the Eleventh Circuit has explained: Georgia’s “racist history”

is too remote to prevent it from “enacting otherwise constitutional laws about

voting.” GBM, 992 F.3d at 1325. The relevant question here is not whether

legislatures in the past included racists, but whether “the legislature as a



6DOJ also suggests that without additional factual support, the “justifications
proffered by proponents of SB 202 . . . are tenuous.” [Doc. 1 ¶ 136(h)]. This is
the type of pretext test required for claims under Title VII of the Civil Rights
Act that the Supreme Court recently rejected in this context. Brnovich, 141 S.
Ct. at 2340–41.

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whole” acted with a discriminatory purpose in enacting SB 202. Brnovich, 141

S. Ct. at 2350. Georgia’s history has no bearing on that question.7

      Fifth, DOJ sprinkles innuendo throughout its complaint to suggest

something nefarious behind SB 202. For instance, DOJ alleges that SB 202’s

co-sponsors were white, see [Doc. 1 ¶ 115], and that Governor Kemp signed

SB 202 without “any people of color” around him, id. ¶ 133. Elsewhere, DOJ

alleges that “[n]o Black representative” or “Black Senator voted for the bill.”

Id. ¶¶ 130, 132. But surely DOJ is not asking this Court to infer discriminatory

animus based solely on the color of these legislators’ skin. Cf. Shaw v. Reno,

509 U.S. 630, 657 (1993) (“Racial classifications of any sort pose the risk of

lasting harm to our society.”). And DOJ otherwise fails to include any facts

connecting those allegations to an actual discriminatory intent by the



7 DOJ’s focus on Georgia’s history is particularly noteworthy given its request
that the Court place Georgia back under “a preclearance requirement”
pursuant to Section 3(c) of the Voting Rights Act. [Doc. 1, Prayer for Relief ¶ 4].
Arguments that “the preclearance requirement” is “now unconstitutional . . .
have a good deal of force” as “things have changed dramatically” in the past
fifty years. Shelby Cty., 570 U.S. at 547; see also id. at 557–58 (Thomas, J.,
concurring) (“I would find § 5 . . . unconstitutional”). Often, efforts to enforce
the Voting Rights Act have the effect of “creat[ing] a system that forces States
to segregate voters into districts based on the color of their skin.” Ala.
Legislative Black Caucus v. Alabama, 575 U.S. 254, 296 (2015) (Thomas, J.,
dissenting). Given the constitutional infirmities of the preclearance process,
and DOJ’s past discriminatory abuse of that system, the Court should reject
DOJ’s request to reinstitute it here.

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“legislature as a whole[.]” Brnovich, 141 S. Ct. at 2350. DOJ also suggests that

the General Assembly “rushed through a hasty process to pass SB 202.” [Doc. 1

¶ 164]. But that allegation cannot hold up against other allegations in the

complaint. See id. ¶¶ 110, 116, 118, 164 (noting that the General Assembly

held hearings and floor debates about voting legislation and SB 202); see also

SB 202 at 6:139–43 (referring to “hours of testimony”). While Georgia’s elected

officials may have reached a different conclusion about the facts than the

current DOJ leadership wishes, that does not make the decision to vote for

SB 202 insincere. And it certainly does not make it discriminatory.

III.   The complaint does not satisfy Section               2’s   “totality   of
       circumstances” requirement.

       The complaint also fails another requirement of Section 2, that is, that

it be assessed by the “totality of circumstances.” Brnovich, 141 S. Ct. at 2332;

see also GBM, 992 F.3d at 1329 (Section 2 “look[s] into the totality of the

circumstances”). This analysis recognizes that voters are expected to “tolerate

the ‘the usual burdens of voting.’” Brnovich, 141 S. Ct. at 2338 (quoting

Crawford, 553 U.S. at 198 (opinion of Stevens, J.)). Accordingly, “[m]ere

inconvenience cannot be enough to demonstrate a violation of [Section] 2.” Id.

Instead, DOJ must establish—and in the complaint must plausibly allege—

that SB 202 denies Georgians the right to vote based on race, considering the



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totality of circumstances. This DOJ has failed to do.

      First, DOJ challenges several specific provisions of SB 202, none of which

transcends “the usual burdens of voting” or “mere inconvenience.” Specifically,

DOJ challenges SB 202’s: (i) limitation on distributing unsolicited and

duplicate absentee ballot applications; (ii) absentee voting identification

requirement and time periods; (iii) rules governing drop boxes; (iv) prohibition

on approaching and giving something of value to voters in line; and

(v) requirement that voters vote in their correct precinct. See [Doc. 1 ¶ 35]

(“challenged provisions”). While some characterized the challenged provisions

as “Jim Crow in the 21st century” (inaccurate hyperbole at best),8 those

provisions mirror voting laws across the country—including in many states

where Democrats control the state houses and governorships. For example,

SB 202 requires voters to request an absentee ballot “not . . . less than 11 days

prior to the date of the primary or election[.]” SB 202 at 38:928–29. And many

states have similar (or longer) cut-off periods for requesting ballots by mail.9




8 President Joseph R. Biden, Jr., Stmt. on the Attack on the Right to Vote in
Georgia (Mar. 26, 2021), https://www.whitehouse.gov/briefing-room/speeches-
remarks/2021/03/26/statement-by-president-biden-on-the-attack-on-the-right-
to-vote-in-georgia/ (hereinafter, “White House Stmt.”).
9 See ARIZ. REV. STAT. ANN. § 16-542(E) (11 days); IND. CODE ANN. § 3-11-4-

3(a)(4) (12 days); IOWA CODE § 53.2(1)(b) (15 days); MO. ANN. STAT. § 115.279(3)

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      The same is true of SB 202’s restriction on approaching voters in line to

give them something of value. See id. at 73:1872–89. In New York, for instance,

it is a misdemeanor to provide “any meat, drink, tobacco, refreshment, or

provision” with a value over one dollar to a voter standing in line to vote. N.Y.

ELEC. LAW § 17-140. So too in Montana, where anyone affiliated with a

campaign is prohibited from providing food or drink to voters waiting in line.

See MONT. CODE ANN. § 13-35-211(2). Many other states also prohibit efforts

to influence voters by approaching them in line.10 Moreover, DOJ’s focus on

this provision is misguided as the burden, if any, is minimal. SB 202 expressly

permits “making available self-service water from an unattended receptacle to

an elector waiting in line.” SB 202 21:1888-89. And nothing prohibits a voter

from bringing her own water or food to consume while in line.11 Given these

facts, DOJ’s allegations cannot possibly make out a claim under Section 2.

      Georgia also provides greater opportunities to vote in other ways, which




(second Wednesday before election); NEB. REV. STAT. ANN. § 32-941 (second
Friday before election); 17 R.I. GEN. LAWS ANN. § 17-20-2.1(c) (21 days).
10 See, e.g., ARIZ. REV. STAT. ANN. § 16-1018(1); CAL. ELEC. CODE §§ 319.5,

18370; COLO. REV. STAT. § 1-13-714; CONN. GEN. STAT. § 9-236.
11 The General Assembly also took proactive measures in SB 202 to address

line length, requiring either reduction in precinct size or additional voting
equipment for precincts where electors had to wait more than one hour before
checking in to vote during the previous election. See SB 202 at 29:721-23.

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confirms that any burdens imposed by SB 202’s requirements are minimal, at

best, when compared to the “entire system of voting[.]” Brnovich, 141 S. Ct.

at 2339. Under SB 202, Georgia provides three full weeks of early voting, with

at least two required weekend days. See SB 202 at 59:1488–503. Here again,

Georgia’s law is more expansive than New York’s, which allows fewer than ten

days of in-person early voting. See N.Y. ELEC. LAW § 8-600(1). Delaware, which

has never permitted in-person early voting, will begin doing so in 2022, but

only for ten days before an election. See DEL. CODE ANN. tit. 15, § 5402. And

New Jersey permits only nine days of early voting, see N.J. STAT. ANN.

§ 19:15A-1(a)(3), through a law that former Georgia gubernatorial candidate

Stacey Abrams heralded as “[s]howing the way to a better democracy[.]”12 As

for SB 202’s requirement that a voter include an identification number when

requesting an absentee ballot, that also tracks requirements in other states.13

Compare SB 202 38:945–53, with MD. CODE ANN., ELEC. LAW § 9-305; WIS.



12 Gov. Phil Murphy (@governorphilmurphy), FACEBOOK (Mar. 30, 2021, 11:04
AM), https://www.facebook.com/governorphilmurphy/videos/355585692414993
(statement by Stacey Abrams at time marker 9:27).
13 Additionally, “the concept of voter identification has become broadly popular”

with Democrats like U.S. Senators Warnock and Manchin, as well as former
gubernatorial candidate Stacey Abrams. See Jonathan Weisman & Nick
Corasaniti, Why Democrats Are Reluctantly Making Voter ID Laws a
Bargaining Chip, N.Y. TIMES, (June 23, 2021) (retrieved from
https://www.nytimes.com/2021).

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STAT. ANN. § 6.87(1). Finally, while Georgia has allowed no-excuse absentee

voting for more than a decade, states like Delaware and New York require

voters to identify a reason for voting by absentee ballot. See DEL. CODE ANN.

tit. 15, § 7571; N.Y. ELEC. LAW § 8-400(1).

      These comparisons show that SB 202 tracks, or is more favorable than,

the laws in many other states. Yet DOJ improperly compares SB 202 to

emergency provisions in place during the recent election cycles. See, e.g.,

[Doc. 1 ¶ 70]. That comparison is misguided as those elections took place under

COVID-19’s temporary emergency rules, rather than the pre-SB 202 statutory

regime. For instance, while DOJ claims that SB 202 limited the availability of

drop boxes for voting, see id. ¶ 2, SB 202 expanded Georgians’ statutory ability

to vote using drop boxes, see SB 202 at 5:113–18.

      Far from an “un-American,” “outrageous” law “pursued by Republicans,”

see White House Statement, SB 202 falls well within the mainstream of

election laws across the country. While DOJ relies on inflammatory and

shameful rhetoric to criticize Georgia, it is noticeably silent about similar laws

in Delaware, New York, Rhode Island, New Jersey, Maryland, and Wisconsin.

This rhetoric is particularly surprising because DOJ recently stated that it did

“not disagree with the conclusion” that Arizona’s rules governing the handling

of absentee ballots and out-of-precinct voting did not violate “Section 2’s results

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test[.]” Feb. 16, 2021 Ltr. from E. Kneedler to S. Harris, Brnovich, 141 S. Ct.

2321 (2021) (No. 19-1257). But it now castigates similar (and more voter-

friendly) rules in Georgia as “un-American.” The challenged provisions clearly

do not exceed the “usual burdens of voting” and DOJ thus fails to state a claim

that SB 202 violates Section 2. Crawford, 553 U.S. at 198.

      Second, DOJ’s focus on absentee voting is misplaced. By placing such

focus on one voting method, see [Doc. 1 ¶¶ 22, 35, 36–42], DOJ overlooks that

a potential “burden on some voters” is insufficient. Crawford, 553 U.S. at 202–

03. Instead, “courts must consider the opportunities provided by a State’s

entire system of voting[.]” Brnovich, 141 S. Ct. at 2339. A review of Georgia’s

“entire system” shows that its election laws are among the least restrictive in

the country for absentee and early voting accessibility.14 SB 202 affords voters

multiple options for voting (early in-person, absentee by mail, and election

day), multiple options for returning absentee ballots (by mail, drop box, or in-

person at county election offices), and the complaint does not provide any basis

for invalidating SB 202 due simply to “the peculiar circumstances of individual

voters.” Crawford, 553 U.S. at 204–06 (Scalia, J., concurring); see also New Ga.

Project, 976 F.3d at 1281 (noting “numerous avenues” to vote in Georgia);


14Ctr. for Election Innovation & Research, How Easy is it to Vote Early in Your
State?, https://electioninnovation.org/research/early-voting-availability-2022/.

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Brnovich, 141 S. Ct. at 2339 (“where a State provides multiple ways to vote,

any burden imposed on voters who choose one of the available options cannot

be evaluated without also taking into account the other available means”).

      DOJ’s focus on absentee voting is also misplaced because Congress

certainly did not “intend[ ]” Section 2 to require voting methods that did not

exist in 1982 when Section 2 was amended. Brnovich, 141 S. Ct. at 2339; see

also McDonald v. Bd. of Election Comm’rs of Chi., 394 U.S. 802, 807–08 (1969)

(limitations on absentee voting “do not themselves deny [voters] the exercise

of the franchise”). As Brnovich held, “it is relevant that in 1982 States typically

required nearly all voters to cast their ballots in person on election day and

allowed only narrow and tightly defined categories of voters to cast absentee

ballots.” Brnovich, 141 S. Ct. at 2339.

      Accordingly, in addition to failing to plead any discriminatory effect, the

complaint fails to allege facts plausibly establishing a violation of Section 2

under the “totality of circumstances,” and should be dismissed.

                                CONCLUSION

      The complaint rests on political posturing rather than a serious legal

challenge to SB 202. It fails to state even a colorable claim under Section 2

based on controlling law, and must be dismissed.

      Respectfully submitted this 28th day of July, 2021.


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                            Christopher M. Carr
                            Attorney General
                            Georgia Bar No. 112505
                            Bryan K. Webb
                            Deputy Attorney General
                            Georgia Bar No. 743580
                            Russell D. Willard
                            Senior Assistant Attorney General
                            Georgia Bar No. 760280
                            Charlene McGowan
                            Assistant Attorney General
                            Georgia Bar No. 697316
                            State Law Department
                            40 Capitol Square, S.W.
                            Atlanta, Georgia 30334

                            /s/ Gene C. Schaerr
                            Gene C. Schaerr*
                            Special Assistant Attorney General
                            Erik Jaffe*
                            H. Christopher Bartolomucci*
                            Brian J. Field*
                            Riddhi Dasgupta*
                            SCHAERR | JAFFE LLP
                            1717 K Street NW, Suite 900
                            Washington, DC 20006
                            Telephone: (202) 787-1060
                            gschaerr@schaerr-jaffe.com
                            *Admitted pro hac vice

                            Bryan P. Tyson
                            Special Assistant Attorney General
                            Georgia Bar No. 515411
                            Bryan F. Jacoutot
                            Georgia Bar No. 668272
                            Loree Anne Paradise
                            Georgia Bar No. 382202
                            Taylor English Duma LLP
                            1600 Parkwood Circle, Suite 200

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                            Atlanta, Georgia 30339
                            Telephone: (678) 336-7249
                            btyson@taylorenglish.com

                            Counsel for Defendants




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Brief in Support of Defendants’ Motion to Dismiss Complaint has

been prepared in Century Schoolbook 13, a font and type selection approved by

the Court in L.R. 5.1(B).

                                   /s/ Gene C. Schaerr
                                   Gene C. Schaerr
